              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


Food Lion, LLC, and Maryland and
Virginia Milk Producers Cooperative
Association, Inc.,

                   Plaintiffs,                     Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                   Defendant.


DEFENDANT DAIRY FARMERS OF AMERICA, INC.’S MOTION FOR
 PROTECTIVE ORDER AS TO PLAINTIFFS’ SECOND REQUESTS
           FOR PRODUCTION OF DOCUMENTS

      Pursuant to Federal Rule of Civil Procedure 26(b), Defendant Dairy

Farmers of America, Inc. (“DFA”), by and through its undersigned counsel,

hereby moves for a protective order providing that DFA need not respond to

Plaintiffs’ Requests for Production Nos. 25 through 27, 29, 31, and 40 through

50, and to grant such other relief as it deems necessary and appropriate. In

support of this motion, DFA shows the Court as follows:

      1.     On July 29, 2020, Plaintiffs Food Lion, LLC (“Food Lion”) and

Maryland and Virginia Milk Producers Cooperative Association, Inc.

(“MDVA”) served their Combined Second Requests for Production of




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Documents (the “Second RFPs”) on DFA. The Second RFPs contained 46

document requests.

      2.    On August 18, 2020, DFA requested a meet-and-confer regarding

the Second RFPs, and the parties held a telephonic meet-and-confer on August

20, 2020.

      3.    During the meet-and-confer, Plaintiffs agreed to consider

modifying six requests, and the parties agreed to table their discussion of some

of the other requests pending DFA’s service of its formal objections and

responses and further negotiations between the parties. As to a dozen of the

Second RFPs, however, the parties remained at an impasse.

      4.    DFA sent a follow-up letter to the meet-and-confer on August 24,

2020. On August 26, 2020, the day that DFA’s responses were due, Plaintiffs

sent an e-mail that contained a reformulation of three of the six requests they

agreed to reconsider, but remained firm on the other three requests. Although

Plaintiffs indicated a full response to DFA’s August 24, 2020 letter would be

forthcoming, DFA has not received a response. DFA timely served its

objections and responses to the Second RFPs on August 26, 2020.

      5.    As a result of the parties’ meet-and-confer efforts, they are

currently at an impasse as to sixteen requests for production. Those 16

requests fall into six categories: 1) Requests seeking discovery of “all



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documents” having to do with MDVA, its farmer members, and other non-DFA

farmers (RFP Nos. 27, 42, and 43); 2) requests for “all documents concerning

or relating” to raw milk purchases for a non-fluid milk processing plant located

in New Jersey going back to January 1, 2016, and “all documents concerning

or relating” to Deans’ raw milk purchasing decisions in Kentucky and

Tennessee going back to January 1, 2013 (RFP Nos. 40 and 41); 3) requests

for “all documents related to or used in” preparing DFA’s Answer and “all

documents pertaining to, relied upon, identified, or referred to by DFA in its

interrogatory responses (RFP Nos. 49 and 50); 4) requests for “all documents”

related to studies or analyses of the raw and fluid milk markets for a five-state

area going back six years (RFP Nos. 25 and 26); 5) requests for “all documents”

created regarding two other dairy farmer cooperatives and a dairy marketing

company (RFP Nos. 44 through 48), and 6) “catch-all” requests for “all

documents concerning or relating to DFA’s, Dean’s, or any other company’s”

pricing for fluid milk and “to the extent not produced in response” to Plaintiffs’

first document requests, “documents concerning or relating to the supply of

processed milk” in a five-state area (RFP Nos. 29 and 31).

      6.    DFA seeks a protective order under Rule 26(b) because these

requests are facially overbroad, disproportionate to the needs of the case,

and/or fail to identify the requested documents with the sufficient particularity.



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      7.    In further support of its motion, DFA also relies on the

contemporaneously filed Declaration of Amber McDonald and the exhibits

thereto.

      Based on the foregoing, and for the reasons set forth in the accompanying

Brief in support of this motion, DFA requests that the Court enter a protective

order providing that DFA need not respond to Plaintiffs’ Requests for

Production Nos. 25 through 27, 29, 31, and 40 through 50, and to grant such

other relief as it deems necessary and appropriate.




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Date: September 1, 2020            Respectfully submitted,


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                    CERTIFICATE OF CONFERENCE

      Pursuant to Local Rule 37.1(a), I certify that after consultation and

diligent attempts to resolve differences, the parties are unable to reach an

accord as to the issues in dispute in this Motion for Protective Order as to

Plaintiffs’ Second Requests for Production of Documents. Counsel for the

parties held a telephonic meet-and-confer on August 20, 2020. Brent F. Powell

sent a letter to counsel on August 24, 2020 confirming the parties’ positions in

the meet-and-confer. Carter Simpson sent an email to Brent F. Powell on

August 26, 2020 responding in part to some of the issues discussed in the

August 24, 2020 letter. Plaintiffs have not otherwise responded to the August

24, 2020 letter.


                                          /s/ Brent F. Powell
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